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                                                                                       U. S. DISTRICT COURT
                                                                                   EASTERN DISTRICT t.RKANSAS
                         UNITED STATES DISTRICT COURT
                                                                                         FEB 2 0 2019
                     FOR THE EASTERN DISTRICT OF ARKANSAS
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UNITED STATES OF AMERICA, EX              Civil Action No:   J-/: }9 - C.V - }3 2 - }(G-B
REL, (UNDER SEAL),

                           Plaintiff,     COMPLAINT

                V.

(UNDER SEAL),
                                                   This case assigned to District Judge        Btlkf_c
                                                   and to Magistrate Judge _.,,.
                                                                              D~ie~'i_.C4
                                                                                       _ e_   _ _ _ _ _
                           Defendant



                               FILED IN CAMERA AND UNDER SEAL
                        PURSUANT TO 31 U.S.C. SECTION 3730{b}(2}




                                   DO NOT ENTER IN PACER




COMPLAINT
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                                                                                                      FILED
                                                                                                   U.S. DISTRICT COURT
                                                                                               EASTERN DISTRICT ARKANSAS

                                    UNITED STATES DISTRICT COURT                                      FEB 2 0 2019
                            FOR THE EASTERN DISTRICT OF ARKANSAS JAMES w. McC                                  •     CK, CLERK
                                                                                           By: _ _- - « i ~ J - - - - -
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    UNITED STATES OF AMERICA, EX                       Civil Action No :   Jf ;/q- C..V- J 32 - /(G,J3
    REL, JERRY DODD,

                                      Plaintiff,       COMPLAINT FOR VIOLATION OF
                                                       FALSE CLAIMS ACT, 31 U.S.C. 3729
                     V.                                ET SEQ, AND DEMAND FOR JURY
                                                       TRIAL
    BEi PRECISION SYSTEMS & SPACE
    COMPANY INC. and J.F. Lehman & Company             Filed in Camera and under Seal
                                                       PURSUANT TO 31 U.S.C. 3730 (b) (2)

                                      Defendants       DO NOT ENTER IN PACER



                                                    COMPLAINT
                                                                       This case assigned to District Judge      1  B~k..e
                                                                       and to Magistrate Judge ~          ""-f_____
    Plaintiff, Jerry Dodd, on beha lf of the United States of America, for his complaint against defendants BEi

    PRECISION SYSTEMS & SPACE COMPANY INC. (BEi PSSC Inc.) and J.F. Lehman & Company alleges, based

    upon personal knowledge and relevant documents, as follows :



    A.      INTRODUCTION (all subparagraphs number consectively, 1, 2, 3 ignoring Alpha headings)




    1. This an action to recover damages and civil penalties on behalf of the United States of




    America arising from false and/or fraudulent records, statements and cla ims made, used, presented,




    and caused to be made, used or presented by Defendants and/or their agents, employees and co-




    conspirators, in violation of the Federal Civil False Claims Act, 31 U.S.C. section 3729 et seq. ("the FCA").




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          2. Defendants' conduct described herein violates the FCA. The FCA was originally enacted during

 The Civil War and was substantially amended in 1986. Congress amended the statute to enhance the

 federal government's ability to recover losses sustained as a result of fraud against the United States

 after finding that fraud in federal programs was pervasive, and that the statute, which Congress

 characterized as the primary tool for combating government fraud, was in need of modernization .

 B. Defendant's Confidential Waiver and Release Prohibits Whistle-Blowing Claims

 3. Defendant's Confidential Waiver and Release of Claims Agreement was provided to Plaintiff

 on 1/31/2019. Attachment A. Recitals contain "general release of any and all claims as set forth herein."

 Releases includes two references to "claims for whistle-blowing" under paragraph 8. Complete

 Settlement on page 3 of 12. Also, on page 4, paragraph 10. Complete Release (a), "claims for whistle-

 blowing." See Attachment 1, Defendant's Confidential Waiver and Release of Claims Agreement

 between Jerry L. Dodd and BEi Precision Systems and Space Company, Inc., 12 pages with reference

 date of January 31, 2019 on page 8 of 12; not signed .


         4. Only exception to bringing/asserting claims is "charge of discrimination, to participate in a

 proceeding with any appropriate federal or state government agency enforcing discrimination laws, or

 to cooperate with any such agency in its investigation, ... "

         5. Subparagraph (d) requires giving up all claims to include wh istle-blowing claims. There is not

 an exception similar to discrimination. On page 5, paragraph 10. Complete Release "(d) Dodd

 acknowledges that he is, through this Agreement, releasing BEi and the Released Parties (or any of

them) from any and all claims he may have based on any event, occurrence or claim which was raised or

 could be raised prior to the effective date of this agreement;"

         6. The clauses are direct violation of public policy to encourage whistle-blowing for fraud

detection especially under the 1986 amendments to FALSE CLAIMS ACT, 31 U.S.C. 3729.




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        7. Prohibition on Requiring Certain Internal Confidentiality Agreements or Statements (Jan

2017) FAR 52.203-19 (b) The Contractor shall not require its employees or subcontractors to sign or

comply with internal confidentiality agreements or statements prohibiting or otherwise restricting such

employees or subcontractors from lawfully reporting waste, fraud, or abuse related to the performance

of a Government contract to a designated investigative or law enforcement representative of a Federal

department or agency authorized to receive such information (e.g., agency Office of the Inspector

General). The above Federal Acquisition Regulation is based on statute: PUBLIC LAW 113-235-

DEC. 16, 2014 128 STAT. 2391

SEC. 743. (a) None of the funds appropriated or otherwise made available by this or any other Act

may be available for a contract, grant, or cooperative agreement with an entity that requires employees

or contractors of such entity seeking to report fraud, waste, or abuse to sign internal confidentiality

agreements or statements prohibiting or otherwise restricting such employees or contactors from

lawfully reporting such waste, fraud, or abuse to a designated investigative or law enforcement

representative of a Federal department or agency authorized to receive such information.

        8. On Feb 13, 2018, Matthew Jones, attested to accuracy of the statement on page 16 of 54 that

BEi was complying with: (a)The Contractor shall comply with the following Federal Acquisition

Regulation (FAR) clauses, which are incorporated in this contract by reference, to implement provisions

of law or Executive orders applicable to acquisitions of commercial items:(l} 52.203-19, Prohibition on

Requiring Certain Internal Confidentiality Agreements or Statements (Jan 2017) (section 743of Division

E, Title VII, of the Consolidated and Further Continuing Appropriations Act, 2015 (Pub. L. 113-235) and

its successor provisions in subsequent appropriations acts (and as extended in continuing resolutions)).

This statement and paragraph 9 statement are part of US Government SAM, System of Award

Management. SAM certifications are used by DOD contracting to make contract awards with resulting

invoices for shipment of products.




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         9. On Feb 5, 2019, Matthew Jones (Controller Functional), attested to accuracy of the statement

 on page 16 of 53 that BEi was complying with : (a)The Contractor shall comply with the following Federal

 Acquisition Regulation (FAR) clauses, which are incorporated in this contract by reference, to implement

 provisions of law or Executive orders applicable to acquisitions of commercial items:(1) 52 .203-19,

 Prohibition on Requiring Certain Internal Confidentiality Agreements or Statements (Jan 2017) (section

 743of Division E, Title VII, of the Consolidated and Further Continuing Appropriations Act, 2015 (Pub. L.

 113-235) and its successor provisions in subsequent appropriations acts (and as extended in continuing

 resolutions). Matthew Jones (Controller Functional), was a location compliance official for major

 defense contractor General Dynamics (GD) at Highland Industrial Park, East Camden, Arkansas for

 Department of Defense Hydro70 product for number of years in 2000's before starting work for BEi

 PSSC over 10 years ago. Matthew Jones was trained and was the location compliance official by

 corporation GD compliance department. Matthew Jones being prior compliance official was verbal

disclosure to Plaintiff. On one occasion, Matthew Jones found the attorney on internet who was head of

the GD compliance program.

         10. From high of 260+ employees in 2012 to 2016, to 143 after 1/31/2019 terminations,

reasonable estimate of 100-/+ Confidential Waiver and Release of Claims Agreement, "Release" here

in after, have been signed by former employees. Each agreement is FCA claims in its self. Based on

series of terminations since 2015 (after Public Law 113-235, dated Dec. 16, 2014) or 2016, using

maximum claims penalty of $21,563 times 80= $1,725,040. Twenty claims are estimated before

11/2/2015: 20 t imes $11,000= $220,000. Additionally, the two certifications in paragraphs 8 and 9 have

been used for numerous DOD contract awards since 2/13/2018 and 1 or more of 12 1/31/2019.

Each DOD contract award since 2/13/2018 and resulting invoices are based the false certifications. The

complete agreements should declare null and void for exogenous, abusive and continuing violations of

Public Law 113-235, dated Dec. 16, 2014 and successor appropriations acts.




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11. Garry Rowe, Director Human Resources, direct report of President and CEO, would not respond or

offer to remove waiving of whistle blowing rights before Plaintiff was dismissed and escorted from the

BIE PSSC Inc. on January 31, 2019. Plaintiff asked Mr. Garry Rowe as the BEi PSSC Inc. Whistleblower

Protection Policy main reporting person if he had the "Release" reviewed by government contracts

attorney experienced in human resources to determine if the "Release" met whistle blowing statute

requirements. Mr. Garry Rowe refused to reply. Ms. Kristin Gawlik replied that company attorneys had

vetted the "Release ." This no reply should be considered retaliation.

12. Which attorney experienced in whistle blowing statute would vet this "Release?" Only an attorney

who was not aware of the Public Law 113-235, dated Dec. 16, 2014. That attorney and law firm should

be held accountable for the vetting that missed the impact of Public Law 113-235, dated Dec. 16, 2014.

This establishes a pattern and long standing process to silence whistle blowers by BEi PSSC Inc. since the

agreement was first used.

13. Defendant's Confidential Waiver and Release of Claims Agreement was reported to David Rattner,

Chief Compliance Officer, J.F. Lehman & Company, Managing Director, Legal, Administration and

Compliance per May 30, 2013 press release. Plaintiff's 1/31/2018 12:11 PM call was whistleblowing

complaint. See attached Plaintiff's confirming email of February 1, 2018 and David L. Ratttner,

DLR@jflpartners.com, 212-634-1178, reply of "we are reviewing and will get back to you." Attachment

B. No reply from David L. Rattner as of date of filing this complaint.

14. Defendants Human Resources Director, Garry Rowe, did not change the Employee handbook in

2015, 2016, 2017 or 2018 to Inform Employees of Whistleblower Rights under DFARS Contract Clause

252 .203-7002. The employee handbook was the same from 2007. Plaintiff informed by email 1/26/2015

that Garry Rowe should add to employee handbook without response from Garry and not change in

employee handbook until 2019 . All invoices from DOD Contracts should be subject to False Claims Act

along with analysis of all invoices for penalties applicable from time frame of 2015 to 2018 . A review of

DOD contract awards would be reasonable estimate until actual records of the Defendant are reviewed.




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                                 )                                          )

 Generally, there would be one invoice per month. Also, only 2 to 6 invoices (estimated total price of

 $100,000) on annual basis were federal funded as direct contract or subcontractor.

 C. Federal Acquisition Regulation {FAR) 52.203-13 required Contractor Code of Business Ethics
 and Conduct.

         15. Department of Defense contracts over $5,500,000 after (Oct 2015) or $5,000,000 before

 (Oct 2015) per FAR 52.203-13 requires Contractor Code of Business Ethics and Conduct. Plaintiff's

 email (dated 5/29/2014) is comparison by subclause to Defendents business ethics in its 2007 Employee

 Handbook.

         16. Lockheed Martin Corporation, Lockheed Martin Space Systems Company had 3 covered

 subcontracts over $5,500,000 for Space Based Infrared Systems (SBIRS) with a required flow down of

 FAR 52.203-13:

 a. Contract No. 8100001596 with performance to 2014 with BEi PSSC number of 1908 and 1924.

 Generally, Lockheed Martin was invoiced monthly from 2011 when Plaintiff, started working for BEi

 PSSC as Senior Contract Administrator for this cost plus fixed fee contract.

 b. Contract No. 4100885816, for SBIRS Satellites GEO 5 & 6, effective years 2014 to 2018 with generally

 monthly invoice with cost basis invoicing; BEi PSSC number 1945. Plaintiff was contracts person for this

 cost plus fixed fee contract.

 c. Contract No. 4101274481, primary years of operation were 2014-March 2017 for SBIRS Satellites GEO

 5 & 6. BEi PSSC, Inc. tracking number is 1947. Contract types were fixed price for build and Fixed Price

 Level of Effort (FPLOE) for testing and integration onto Lockheed Martin Corporation drives for BEi PSSC,

 Inc. encoder. FPLOE had monthly invoices from 2014 to 3-2017.

d. At least three (for years 2019, 2018, and 2017) Northup Grumman contracts for AN/ AAQ-37

 Distributed Aperture System (DAS) for the F-35 Fight Aircraft with BEi PSSC, Inc, microscanner systems

as subcomponent. Estimated 1,000 BEi PSSC, Inc, micro scanner systems were built per year.

e. General Dynamics Land Systems Division awarded contract starting in May 2018 and amendments for

GGC40 encoder for M1A2 tank with total contract amount estimated to be over $5.5 million with 660+



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units.

17. Plaintiff sent numerous emails on 2007 BEi PSSC handbook not complying with the minimal

requirements of FAR 52.203-13 Contractors Code of Business Ethics and Conduct. Dave Smith, signed

Certification on May 29, 2014 asserting compliance with FAR 52.203-13 (c) and FAR 52.203-13 (b) on

Lockheed Martin Supplier Code of Business Ethics and Conduct. Mr. Smith completed the form by

himself as Business Finance Manager. Mr. Smith addressed the email to Plaintiff, and CC: Matt Jones

(Controller and his manager and direct report to President) and Garry Rowe (HR Manager with

responsibility for 2007 Employee Handbook and direct report to BEi PSSC President). Mr. Smith stated "I

have reviewed what we have in place and do not have any problem signing this form. BEi is

conscientious about ethics and our procedures are adequate." In response, Plaintiff wrote 15:20 email

that stated the last amendment increases contract funding above $5,000,000 and thus FAR 52 .203-13

will be applicable. Also, Plaintiff sent email at 15:04 starting with "Not to be disrespectfully or

contrary, .. ". The Plaintiff 15:20 email outlined 8 areas of general compliance and 6 areas of non-

compliance with additional non-compliance of no business ethics training since Plaintiff employment on

3/12/2011. Also, Plaintiff outlined from FAR 52.203-13 (c) 4 areas of compliance using 14 point bold red
type and 11 areas requiring compliance. The email was ignored. Also, email included full Lockheed

Martin Terms and Conditions, BEi PSSC Handbook 2007 July 02 PDF version and LE Code of Ethics and

business conduct along with Huntington Code of Ethics since both used BEi PSSC as subcontractor.

Plaintiff wrote in email that "It is your decision since you sign the certs." The email was more passive

since Mr. Smith was a Marine in Viet Nam with certain swagger and not liking challenges.


a. On May 31, 2018, Plaintiff emailed Matt Jones and Garry Rowe that Contractor Code of Business

Ethics and Conduct per 52.203-13 is applicable under NG (Northrup Grumman Contract 5/17/2018.

Attached was Plaintiff's email asking about who in BEi PSSC would comply with Honeywell Supplier

Code of Business Conduct. No reply from Plaintiff's manager Matt Jones or Garry Rowe.

b. In fall of 2018, Garry Rowe provided a certification stating compliance on Sikorsky form that BEi PSSC




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complies with 52.203-13. Garry Rowe told BEi PCCS Sales Adminstrative Assistant, upon delivering the

signed certification that Plaintiff and I disagree about the compliance.

D. Disclosures Top 5 Executive Compensation Disclosures

18. Defendant has mixed disclosure for top 5 executive compensation. In first quarter of 2018,

defendant disclosed for first time, top 5 executives at its Maumelle, AR offices. But ignored disclosing

after acquisition by J.D. Lehman & Company on May 4, 2017 (based on press releases)

to first quarter of 2018, close to one year. From 7/30/2015 to May 4, 2017, Custom Sensors &

Technologies, Inc. (CST) did not itself publicly disclose its top 5 executive compensation . CTS was

owned by PAI Partners (35%), Carlyle Group (35%) and Schneider Electric (30%) (French company under

European Union disclosure rules for top executives). PAI was approximate 35% owner who disclosed no

executive compensation since it was European private equity form . Schneider Electric was 30% owner

who annually disclosed at least its top 5 executive compensation for annual years

2015, 2016 and 2017. Carlyle in annual SEC disclosures, disclosed it to 5 executive compensation 2015,

2016, and 2017. One of years 2011, 2012, 2013, 2014, Schneider Electric only disclosed top three

executive compensation. Those disclosures can be confirmed by reviewing public disclosure. Analysis is

required to determine the impact of non-disclosurers for time period of 2011 to first quarter of 2018.

Review of Defendant award summary of 1/3/2018 for contract N0010417PEX15 FOR $1,196,000;

Defendant declared that no reporting of executive compensation was required under Section 6202 of

P.L. 110-252. Since this award was for over 150 units, Plaintiff estimates that contract had 8 to 12

invoices for production at estimated at 10 per month for total estimated 9 to 13 false claims times

$21,916 for total maximum FCA violation of 13 times $21,916 = $284,908.

a. DLA Contract SPRALl-17-C-0015, 5/15/2017, $199,826.

b. DLA contracts 7/31/2017 $125,290; 7/18/2017 $230,919

c. N00104-17-P-XA27, 12/2/2016, $17,023; 8 federal contracts between $31,824 and $62,060 with

dates of 11/14/2016 to 4/18/2017. Claims maybe verified by reviewing all invoice submitted for




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 payment by Defendant.


 E. Representation per FAR52.204-7 (Jul 2013) in System for Award Management: Disclosure of

 Greenhouse Gas Emissions and Reduction Goal

 19. The 54 pages for System for Award Management (SAM) on page 15 (t) (2) representations did

 not reply to disclosure of greenhouse gas or if immediate or highest-level owner discloses.

 Both clauses with "does" or "does not" were left blank for both. Matthew Jones attested to

 accuracy of the representations of February 13, 2018 in SAM. The same representation was left blank

 for all 4 blocks on page 15 of 53 for SAM Feb, 5, 2019 Matthew Jones attestation.

 20. BEi PSSC received more than $7.5 million in Federal Contract Awards on direct basis from DOD or

 NASA, FAA, or subcontract awards using Federal Contract Awards of the estimated $30m+ for Calendar

 year 2018 and 2017 . Estimated less than $75,000 was direct commercial sales of MT40 encoder for

 industrial machine usage.

 21. Ashley Olson, Manager EH&S/Trade Compliance, BEi PSSC responsible person for environmental

 compliance (E in EH&S or Environment, Health & safety), was notified in February 15, 2018 email from

 Plaintiff that there is no exemption in clause for small generator for "Public Disclosure of Greenhouse

 Gas Emissions." The full DFARS Clause 52,223-22, Public Disclosure of Greenhouse Gas Emissions -

 Representation was included in text of email. Plaintiff was suggested adding two sentences to BEi PSSC

 web site. Again, no compliance to the best of Plaintiffs knowledge and belief along with printing of all

 BEi PSSC web pages during first part of February 2019.

 22. With Plaintiff February 15, 2018 email, Matthew Jones had an affirmative obligation to disclose as

 update after his February 13, 2018 SAM attestation which Matthew Jones did not update as required

 per SAM format update.




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 F. Representation: "Is the immediate owner owned or controlled by another entity?" in SAM

 for 2018 and 2019 was marked No which is incorrect since J.F. Lehman & Company controls

 BEi PSSC, Inc.

 23 . J.F. Lehman & Company press release of May 04, 2017 states that an investment affiliate has

 acquired PSSC Holding Co. and its wholly owned subsidiary, BEi Precision Systems & Space Company,

 Inc.

 24. Below is copy and paste of clause on page 14.

 (p) Ownership or Control of Offeror. (Applies in all solicitations when there is a requirement to

 be registered in SAM or a

 requirement to have a DUNS Number in the solicitation .

 (1) The Offeror represents that it [X] has or [] does not have an immediate owner. If the Offeror

 has more than one


 immediate owner (such as a joint venture) , then the Offeror shall respond to paragraph (c) and if

 applicable, paragraph (d) of this

 provision for each participant in the joint venture.*

 (2) If the Offeror indicates "has"" in paragraph (b) of this provision, enter the following

 information:

 Immediate owner CAGE code:7KQM6

 Immediate owner legal name:PSSC HOLDING CO.

 (Do not use a "doing business as" name)

 Is the immediate owner owned or controlled by another entity?

 [] Yes [X] No
 (3) If the Offeror indicates "yes" in paragraph (p)(2) of this provision, indicating that the
 immediate owner is owned

 or controlled by another entity, then enter the following information:

 Highest-level owner CAGE code: _ _ _ _ _ _ _ _ _ _ _ _ __


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 Highest-level owner legal name:Offeror asserts international ownership. They must provide the
 owner's NCAGE

 Code within 90 days of registration.

 (Do not use a "doing business as" name)

 *Currently, only one Immediate or Highest-Level Owner may be identified by a CAGE Code. If

 the offerer has more than one (such as a joint venture) at either level of ownership, they must

 select only one to report.

 25. J. F. Lehman & Company has supervised BEi PSSC, Inc. since it has initial investment of approximately

 $80 million (approximate $40 million as borrow funds of some sort). One of J.F. Lehman's personnel,

 David Ashcraft spends few days per month for the last few months at BEi PSSC, Arkansas. Additionally,

 regular board meetings are conducted in New York City. To best of plaintiff's memory, a board meeting

 on January 14 or 15 or 16, 2019 approved the 2019 budget that resulted in Plaintiff's termination on

 January 31, 2019. Did J. F. Lehman & Company Board meeting discuss the lack of future contracts that

 was basis to terminate Plaintiff per Vice President Finance, Kristin Gawlik, and 11 others on January 31,

 2019?

 26. Two misrepresentations in 2018 and 2019 should be assessed as False Claims violations maximum of

 $21,916 since repeat violations is after November 2, 2015. Additionally, an assessment should be made

 for each contract award using 2018 and 2019 SAM representations and certifications. A review of

 www.usaspending.gov/transparency/Pages;AwardSummary.aspx will list applicable direct awarded

 contracts for 2018 & 2019. Additionally, Prime Contractors have reviewed and replied on similar

 certifications in yearly certification to each contractor. Plaintiff has reviewed certifications in Sales

 Department folder in I Drive in BEi PSSC server but has no copies.

 27. In statement of 5.16.2917, Daily Journal; "Barbara Linney served as the lead Miller & Chevailer

 lawyer on client J.F. Lehman & Company's acquisition of PSSC Holding Co. and its wholly owned




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 subsidiary, BEi Precision Systems & Space Company, Inc." Additionally, J.F. Lehman & Company directed

 BEi Precision Systems & Space Company, Inc. engage Barbara Linney as export compliance counsel.

 28. Verbally Plaintiff was told by President Daniel Schrader in May or June 2017 after New York City

 meeting with J.F. Lehman Company that BEi PSSC, Inc. could not apply for small business status per J.F.

 Lehman & Company even if BEi PSSC, Inc. employees are in 200 to 250 range which would qualify as

 small business under Small Business Administration guidance.

 G. No Disclosure to Defense Security Agency that Top Secret 00254 terminated on

 6/30/2017

 29. ' Lockheed Martin Corporation Subcontract 8100002623 ended on 6/30/2017 and was only contract

 that BEi PSSC Inc. had with top secret DD254 authorized.

 30. in 2018, Lockheed Martin Corporation added secret DD254 to 1951 Time and Material Contract,

 4101462500.

 31. Also, North Grumman for Lot 12 (February to April 2018) for AN/AAQ-37 Distributed Aperture

 System (DAS) for the F-35 Fight Aircraft /BEi PSSC micro scanner removed secret DD 254 from yearly

 contract since BEi PSSC, Inc. had not been provided classified documents. The removal was by bi lateral

 agreed contract amendment that was signed by both parties.

 H. The Accelerometer label that has installation orientation for P63A label that did

 not pass rub test; thus hydraulic fluid could remove the label safety aspect

 32. In 2017 BEi Precision Systems & Space Company, Inc. was required to do P63A first article during 5 to

9/2017 before the award of Sikorsky Multi-Year IX contract award in September to October 2017. BEi

 PCCS, Inc. discovered the defective labels during the first article review and build. The label and lettering

would not stand up to contract required rub test. The rub test uses fluid sim ilar to hydraulic fluid that

removed the required letters on the label. The label did not meet military requirements but was




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obtained from local stationary supplier. The label has orientation arrow and+ that is used for correct

orientation installation on Blackhawk UH-60 helicopter for US Army and US Navy Seahawks. Also, the

same P63A is used on Marines and Navy CH53 . This is Army classified critical item that is flight assist

component.

33. Each P63A is shipped with Certificate of Conformance (COC) stating that each accelerometer

complies with all Sikorsky specification requirements. The COC is included as part of invoice/shipping

documents.

34. Based on best knowledge of Plaintiff, in third or fourth quarter of 2017 BEi PSSC started using rub

resistant labels. Also, BEi PSSC did notify Defense Logistic Aviation, Richmond, VA of changes for 3

multi-year contracts for UH60, UHueys and Bl bomber.

35. The accelerometer production was moved from a leased building 500 to 1,000 feet to current

building at 1100 Murphy Drive, Maumelle, AR 72113 without the performance of first article test,

contract requirement. The move was done by January 2018. Also, BEi PSSC did not notifying the Defense
Logistics

Agency or Prime contractors to include Bell and Sikorsky of the change in manufacturing location. The

shipping and building address remained the same. Also, in 2009 to 2010, the move from 1100 Murphy

Drive, Maumelle, AR 72113 to CID, abutting business with office and 3 to 4 separate buildings, was

accomplished without notice to Defense Logistics Agency or prime contractors: Sikorsky, Bell, Lockheed

Martin, Rockwell Collins, etc. Plaintiff has personal knowledge of reviewing the renewals and notice of

not renewing the lease at end term due to CID needing the space for cabinet shop.




J. Plaintiff was not engage/or worked as an attorney for BEi PSSC Inc.

36. On March 21, 2011, Plaintiff was hired by BEi PSSC Inc. as Contracts Administrator Senior

and laid off on January 31, 2019 with same title of Contracts Administrator Senior. See Defendant's




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Confidential Waiver and Release of Claims Agreement page 9 of 12, bottom 1/3 of page.


37. Plaintiff did not label or assert that document(s) prepared for BEi PSSC Inc. were attorney client

privileged or work product privileged.

38. Defendant did not pay or offer to pay to Plaintiff yearly bar fees or fees for required continuing

education; unlike his prior two corporate employers Honeywell Corporation and Harsco Corporation.

39. Plaintiff did not display attorney admission certificates in his BIE PSSC office.

40. Plaintiff did not hold himself as an attorney to BEi PSSC Inc. or its employees or agents.

41. Plaintiff made it clear to Lockheed Martin Ft. Worth attorney employee that he was not representing

BEi PSSC Inc. Lockheed Martin Ft. Worth attorney employee proceeded to state that Florida Bar

required her to tell us (Linda Meisenbach, Specialist Contracts Senior, and myself) that we could have

attorney representation present. I stated that we were fine without representation to negotiate final

terms and condition for P80 Accelerometer subcontract for F-16 fighter aircraft. Linda had prepared the

exceptions and negotiated all except handful or less of open clauses.

42. All business cards did not contain counsel or attorney. Even the JD initials were not used. On

business development card, Plaintiff did use the title Program Strategist with the name, JERRY

DODD MBA, CPA.

43. In December 2018, Steven Parker, Senior Director of Performance Excellence, hired last of November

2018, asked if Plaintiff was an attorney. Steven was asking about terminating copier contract since two

copiers were 15 to 20 feet apart. Plaintiff replied that Plaintiff is not an attorney for BEi PSSC Inc. but I
am

good friends with Data Max sale representative . Plaintiff offered to talk to Mr. Oury, but Steven never

followed up. The issue is Data Max would take the copier back, but Data Max requires all

payments. Additionally, I never reviewed at time of contracting the Data Max prepared contract.

K. Misstatements in Certification amount to Fraudulent Statements




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44. On 3/14/2018, David Dam as VP of Programs asserted the VMS3 encoder Unpublished Catalog or

Price List "State the prices at which sales are currently, or were last, made to a significant number of

buyers constituting the general public." No sales of VMS 3 encocder were made to other than Honeywell

for towed M777 155mm Ultralightweight Field Howitzer. Proposal/Contract was obtained based on false

statement, VMS 3 encoders estimated to be 40 to 150 units from memory of Plaintiff.

45 . Annual Certification have been checked for error in negligent trending to fraudulent manner since

annual Harris Supplier Certification, dated 7/13/2017 states that company employee total is O (zero) on

page 2 of 17. On page 9 of 17 box was checked stating that suppliers internal business Systems complies

with all of DFARS 252 .242-7005 when supplier did not have earned Value Management Systems or

Purchasing Systems had not been reviewed or approved by Defense Contract Management Agency.

Under Responsible Supplier on page 9 of 17, Supplier asserted that business ethics were consistent with

or similar to the Harris Corporation Policies. Both persons filling out the Annual Supplier Certification

and David Dam stated to Plaintiff that they had not received ethics training since being employed at BEi

PSSC Inc. Plaintiff states this is typical for annual certifications and all should be reviewed for false

statements. On basis of this certification, estimated 12 monthly invoices were submitted to Harris

Corporation for the year after 7/13/2017 to 7/13/2018.

46. Defendants Human Resources Director, Garry Rowe, did not change the Employee handbook in

2015, 2016, 2017 or 2018 to Inform Employees of Whistleblower Rights under DFARS Contract Clause

252.203-7002. Plaintiff informed, email 1/26/2015, Garry Rowe of change wit.hout response from Garry

and not change in employee handbook until 2019. All invoices from DOD Contracts should be subject to

False Claims Act penalties applicable from time frame of 2015 to 2018. A review of DOD contract awards

would be reasonable estimate until actual records of the Defendant are reviewed. Generally, at least

there would be one invoice per month .

47. Defendant has asserted data rights were developed exclusively at private expense

although Defendant does not have data to support its assertion of developed exclusively at private




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expense for VMS 3, VMS 2, VIIRS, CRIS, SBIRS, and SPC 35. Part of the development was done under

subcontract for prime DOD or US Government Contract.

                                             PRAYER FOR RELIEF

        WHEREFORE, plaintiff/Relators pray for judgement against Defendants as follows:

         1. That Defendants cease and desist from violating 31 U.S.C Sections 3729-33;

         2. That the Court enter judgment against Defendants in an amount equal to three times amount
of damages the United States has sustained as a result of Defendants' actions as well as a civil penalties
against each Defendant of $21,916 to $11,000 depending on dates for each violation of 31 U.S.C.
Section 3729.

        3. That the Plaintiff/Relators be awarded all costs and expenses of this action, including
attorney's fees; and

        4. That the United States and Plaintiff/Relators receive all such other relief as the court deems
just and proper.

                                              JURY DEMAND

Pursuant to Rule 38 of the Federal Rules of Civil Procedure, plaintiff hereby demands trial by jury.

Dated: Februarya=Q , 2019                                 Respectfully submitted,


                                                        2 - ~,;z_Jnu?
                                                      Jerry L. Dodd */Plaintiff Pro Se
                                                      700 Kirkpatrick Road
                                                      Malvern, AR 72104
                                                      Arkansas Bar#: 2001261
                                                      Telephone : {501) 467-1265
                                                      Fax: {501) 332-7173
                                                      Email: jerryleedodd@yahoo.com
*Application to Practice in UNITED STATES DISTRICT COURTFOR THE EASTERN DISTRICT OF ARKANSAS is
being filed concurrently with this filing.

Attachment A, Confidential Waiver and Release of Claims Agreement, 12 pages, dated 1/31/2019

Attachment B, David Rattner, J.F. Lehman & Company, 2/4/2019 email




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                  CONFIDENTIAL WAIVER AND RELEASE
                        OF CLAIMS AGREEMENT

      THIS CONFIDENTIAL WAIVER AND RELEASE OF CLAIMS
AGREEMENT ("Agreement") is made and entered into by and between Jerry L. Dodd
and BEI Precision Systems and Space Company, Inc., its past and present
shareholders, directors, board members, executives, managers, supervisors,
employees, agents, and affiliated entities (collectively referred to as "BEI").

                                     Recitals

      Dodd's employment with BEI ended on the 31st day of January, 2019 (the
"Separation Date"). BEI desires to provide Dodd with a severance package in
recognition of his work at BEI and in exchange for a general release of any and all
claims as set forth herein.         ·

      NOW, THEREFORE, in consideration of the premises and mutual promises
herein contained, Dodd and BEI agree as follows:

      l.     No Admission of Liability

      This Agreement shall not in any way be construed as an admission by Dodd or
BEI that either party has acted wrongfully with respect to the other or any other
person, and the parties agree that this document will not be referred to or admitted
into evidence in any legal or administrative proceeding, except to the extent
necessary to enforce the terms of this Agreement.

      2.     No Reemplovment

       Dodd understands and agrees that he will not apply for employment with BEI
in the future and will not be reemployed by BEI at any time in the future.

      3.    No Other Claims

      Dodd represents that he has not filed any complaints or charges against BEI
with any governmental agency, or any lawsuit in any court.

      4.    Payments and Consideration

      Under the terms of this Agreement, following the expiration of the seven (7)
day revocation period referenced in Paragraph lO(g), and assuming no revocation,
Dodd will be entitled to the following:




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                                                           th   L-,+F}--
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            (a)    Payment of the gross amount of $29,575.56, minus the applicable
      payroll deductions required by law, payable in lump sum;

             (b)    BEI not opposing any claim for unemployment benefits, although
      it reserves the right to provide the Department of Workforce Services with any
      requested information or documentation.

              BEI's payment to Dodd and the non-opposition to any unemployment
claim are in consideration of Dodd's execution and delivery of this Agreement, and
his faithful performance of his obligations under this Agreement. If Dodd fails to
fully execute and deliver this Agreement to BEI within forty-six (46) calendar days
from receipt of this Agreement, he will not be entitled to the consideration listed in
this Agreement.

      5.     Benefits

             (a)    Any benefits due Dodd on the Separation Date will be
      administered in accordance with applicable policies and procedures. Except as
      specifically described herein, Dodd shall not be entitled to any other benefits
      or compensation (including the accrual of Personal Time Off), or to any
      incentive pay, bonus or other similar compensation after the Separation Date.
      Dodd's termination date for pension plan or other retirement plan purposes
      shall be deemed to be the Separation Date, unless otherwise required by the
      relevant plan or law.

             (b)  To the extent applicable, Dodd will be responsible for any other
      insurance coverage he has purchased in the past through third-party
      insurance companies, including coverages paid through pre-tax deductions.

      6.     No Obligation

      Dodd and BEI acknowledge and understand that the consideration set forth in
Paragraphs 4(a) and 4(b) are not required by the policies, practices or procedures of
BEL

      7.     Cessation of Authority and Return of Propertv

       Dodd acknowledges that effective the Separation Date, he will no longer be
authorized to incur any expenses, obligations or liabilities on behalf of BEL Dodd
shall deliver to BEI all keys, handbooks, training manuals, minutes, records, phones,
computers, computer discs, flash drives, portable computer drives, passwords,
spreadsheets, computer files, payroll information, and any other property belonging
to BEI on the Separation Date.




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      8.     Complete Settlement

      Dodd accepts the consideration set forth in Paragraph 4 in full and complete
settlement of any and all claims he has or might have against BEI, including, but not
limited to, claims of breach of contract and/or breach of any covenant; claims for
wrongful or constructive discharge; claims of tortious conduct, including, but not
limited to, interference with contract, defamation and intentional infliction of
emotional distress; claims of violation of civil rights or discrimination (including
harassment and retaliation); claims for unequal or discriminatory pay or treatment;
claims for failure to pay proper wages or overtime; claims for failure to accommodate
and failure to grant leave; claims for whistle-blowing; claims for attorney's fees; and
any and all claims related or in any way incidental to Dodd's employment with BEI
and/or the separation of his employment.

       By accepting the payment and consideration listed in Paragraph 4, it is Dodd's
express desire to release and waive each and every claim for injuries, damages, and
consequences, known and unknown, developed or which might develop in the future,
resulting from any practices, acts, or omissions of BEI prior to the date of this
Agreement.

      9.     Restrictive Covenants

       This Agreement is confidential. The parties represent and agree that they will
keep the terms, amount and fact of this Agreement completely confidential, and that
they will not disclose any information concerning this Agreement to anyone except as
permitted below. Dodd may disclose such information to his spouse, lawyers, and
accountants, any state or federal governmental agency or tax authority, and, if
required to do so, by subpoena or court order. BEI may disclose such information to
its lawyers, accountants, individuals within BEI on a need-to-know basis, any state
or federal governmental agency or tax authority, and, ifrequired to do so, by subpoena
or court order. Prior to any approved disclosure, discussion, or description of the
existence or terms of this Agreement, the parties shall inform the other person or
entity that he, she or it is bound by this confidentiality limitation.

        Dodd agrees that he will at no time take any action or make any statement
that could discredit or disparage the reputation of BEI, its shareholders, directors,
board members, officers, executives, managers, employees, agents, representatives,
affiliates, products or services. BEI agrees that its board members and management
will not take any action or make any statement that could discredit or disparage the
personal or professional reputation of Dodd. However, neither party is prohibited
from testifying truthfully in any type of administrative or other proceeding.

      Any request for an employment reference should be directed to Garry Rowe,
Director Human Resources.



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       10.   Complete Release

             (a)    By accepting the payment and consideration listed in Paragraph
      4, Dodd hereby releases and forever discharges BEI from any and all
      complaints, claims, obligations, injuries, demands, damages, causes of action,
      and expenses (including attorneys' fees and costs actually incurred) of any
      nature whatsoever, known or unknown, including, but not limited to, the
      following: Claims for breach of contract, wrongful discharge or constructive
      discharge; claims for failure to promote or failure to hire; claims for failure to
      grant leave or to accommodate; claims for lost compensation, wages, benefits,
      bonuses, and emotional distress; claims of tortious conduct, including, but not
      limited to, defamation, interference with contract and intentional infliction of
      emotional distress; claims for detrimental reliance; claims for any form of
      discrimination, harassment or retaliation; claims for unequal or
      discriminatory pay or treatment; claims for failure to pay proper wages or
      overtime; claims for whistle-blowing; claims arising out of an alleged violation
      of any employment agreement, express or implied, any covenant of good faith
      and fair dealing, express or implied; and any claims arising under federal, state
      or other governmental statute, regulation, law, or ordinance, including,
      without limitation: (1) Title VII of the Civil Rights Act of 1964; (2) the Arkansas
      Civil Rights Act; (3) Executive Order 11141; (4) § 503 of the Rehabilitation Act;
      (5) the Americans with Disabilities Act; (6) 42 U.S.C. § 1981; (7) the Genetic
      Information Nondisclosure Act; (8) the Age Discrimination in Employment Act
      of 1967 and the Older Workers Benefits Protection Act; (9) the Family and
      Medical Leave Act; (10) the National Labor Relations Act; (11) the Fair Labor
      Standards Act and the Arkansas Minimum Wage Act; (12) the Equal Pay Act;
      and (13) the Employee Retirement Income Security Act ("ERISA"), (collectively
      referred to as the "Claim" or "Claims").

             As consideration for the severance payment and other benefits received
under this Agreement, Dodd further agrees that he will not file any lawsuit against
BEI and the Released Parties (or against any of them) based on the Claims released
in this Agreement. Dodd also releases any right to receive any individual remedies
or damages in (a) any administrative proceeding or (b) any court action based on or
concerning the Claims released in this Agreement. However, nothing in this
Agreement is intended to interfere with Dodd's rights under applicable law to file or
otherwise institute a charge of discrimination, to participate in a proceeding with any
appropriate federal or state government agency enforcing discrimination laws, or to
cooperate with any such agency in its investigation, none of which shall constitute a
breach of the non-disparagement or confidentiality clauses of this Agreement.

      (b)   Dodd acknowledges that he has had a reasonable period of time (up to
and including forty-five (45) days) to review and consider this Agreement;



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        (c)   Dodd acknowledges that he has carefully read and fully understands
all of the provisions of this Agreement;

       (d)    Dodd acknowledges that he is, through this Agreement, releasing BEI
and the Released Parties (or any of them) from any and all claims he may have
based on any event, occurrence or claim which was raised or could be raised prior to
the effective date of this Agreement;

      (e)    Dodd acknowledges that he knowingly and voluntarily agrees to all the
terms set forth in this Agreement;

       (f)   Dodd acknowledges that he knowingly and voluntarily intends to be
legally bound by this Agreement;

       (g)   Dodd understands that he may revoke this Agreement within seven (7)
calendar days after signing it by delivering written notice of revocation to Garry
Rowe or Charlotte Stowe, by mail, e-mail, or fax within the seven-day period, and
that this Agreement is not effective or enforceable until the seven-day revocation
period has expired. The seven-day revocation period shall commence on the date
and time the Agreement is executed by Dodd.

      (h)    Dodd acknowledges that he was advised and hereby is advised in
writing to consider the terms of this Agreement carefully and consult with an
attorney of his choice prior to executing this Agreement; and

      (i)   Dodd acknowledges that he understands that rights or claims under the
      employment laws that may arise after the date this Agreement is executed are
      not waived.

      11.    No Representations

       Dodd represents and acknowledges that in executing this Agreement he does
not rely and has not relied upon any representation or statement not included in this
Agreement that was made by BEI or by any of BEI's agents or representatives with
regard to the subject matter, terms, basis or effect of this Agreement.

      12.    Successors

      This Agreement shall be binding upon Dodd and upon his respective heirs,
administrators, representatives, executors, successors and assigns, and shall inure to
the benefit of BEI's heirs, representatives, executors, administrators, successors and
assigns.



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       13.   Applicable Law

        This Agreement is made and entered into in the State of Arkansas, and shall
in all respects be interpreted, enforced and governed under the substantive laws of
the State of Arkansas, without regard to choice oflaw. The language of all parts of
this Agreement shall in all cases be construed as a whole, according to its fair
meaning, and not strictly for or against any of the parties.

       14.   Severability

      The provisions of this Agreement are severable, and if any part of the
Agreement is found to be unenforceable, the other parts shall remain fully valid and
enforceable. This Agreement shall survive the termination of any arrangements
contained herein.

       15.   Entire Agreement

       This Agreement sets forth the entire agreement between the parties, and fully
supersedes any and all prior agreements or understandings between the parties
pertaining to its subject matter. No statements, promises or representations have
been made by any party to the other, or are relied upon, and no consideration has
been or is offered, promised, or expected, other than that already received or set forth
in this Agreement. Any modifications to this Agreement must be in a writing signed
by both parties.

                              [Signature Page Follows]




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Dodd represents and agrees that he has carefully read and fully and
completely understands all of the terms and provisions of this Agreement,
that she does not have any questions concerning any of the terms and
provisions of this Agreement, and that he is voluntarily entering into this
Agreement of his own free will.

**Dodd shall have up to and including forty-five (45) days from the date of receipt of
this Agreernent to consider this Agreernent and forty-six (46) days from the date of
receipt to execute this Agreement (with each page initialed) and return it to Garry Rowe
or Charlotte Stowe.



                                        Jerry L. Dodd

                                        Date: _ _ _ _ _ _ __

                                        Time: ________ a.m./p.m.



                                        BEI Precision Systems and Space Co., Inc.

                                        By: _ _ _ _ _ _ _ _ _ _ _ __

                                        Title: ________________

                                        Date: _________




                                                                               ,J.L.D.
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                                                EXHIBIT A

The following information is provided to you in accordance with the Age
Discrimination and Employment Act ("ADEA") and the Older Workers' Benefit
Protection Act because the severance payments offered to you have been established
in connection with an employment termination program offered to certain
employees of the Company (hereinafter referred to as the "Program").

The employees covered by the Program include all employees whose employment
was terminated in the reduction in force on January 31, 2019.

There is one group of individuals covered by the Program. This group is referred to
as a "Decisional Unit."

       A.       The Decisional Unit consists of the Company's facility in Maumelle,
                Arkansas. All employees in your Decisional Unit are eligible for the
                Program.

        B.          The selection criteria for the involuntary terminations in your
                    Decisional Unit included seniority, performance and efficiency.

        C.      All persons who are being offered consideration for a waiver of rights
                under the ADEA must sign the agreement and return it to the Human
                Resources office within 46 days after receiving the agreement. Once
                the signed waiver is returned to the Human Resources office, the
                employee has 7 days to revoke the waiver agreement.

       D.       The following is a list of the job titles and ages of the employees in your
                Decisional Unit who were and were not selected for termination under
                the Program:

                                                                                    No. Not
Job Title                                                Age   No. Selected         Selected

Administrative Assistant                                  37         0                1
Analyst Financial                                         37         0                1
Analyst Financial                                         40         0                1
Analyst Information Technology & Security Sup             38         0                1
Analyst Information Technology/Security                   43         0                1
Analyst Information Technology/Security                   38         0                1
Assembler                                                 54         0                1
Assembler                                                 43         0                1
Assembler                                                 36         0                1
Assembler                                                 55         0                1


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Assembler                                                65       0            1
Assembler                                                46       0            1
Assembler                                                22       0            1
Assembler                                                62       0            1
Assembler                                                55       0            1
Assembler                                                47       0            1
Assembler                                                36       0            1
Assembler Sr                                             57       0            1
Assembler Sr                                             57       1            0
Assembler Sr                                             55       0            1
Assembler Sr                                             62       0            1
Assembler Sr                                             45       0            1
Assembler Sr                                             64       0            1
Assembler Sr                                             66       0            1
Assembler Sr                                             57       0            1
Assembler Sr                                             66       0            1
Assembler Sr                                             36       0            1
Assembler Sr                                             50       0            1
Assembler Staff                                          60       0            1
Assembler Staff                                          41       0            1
Assembler Staff                                          63       0            1
Buyer                                                    47       0            1
Buyer                                                    64       0            1
Buyer                                                    64       1            0
Buyer                                                    53       0            1
Chief Engineer                                           51       0            1
Chief lnfonmation Officer                                42       0            1
Contracts Administrator Senior                           65       1            0
Controller Functional                                    58       0            1
Coordinator Accounting                                   37       0            1
Coordinator Accounting Senior                            61       0            1
Coordinator Government Property Custodian                53       0            1
Coordinator Metrology                                    39       0            1
Coordinator Metrology                                   56        0            1
Coordinator QA Receiving & Inspection                   62        0            1
Director Business Development                           50        0            1
Director Engineering                                    56        0            1
Director Human Resources                                63        0            1
Director of Operations                                  61        0            1
Engineer Continuous Improvement                         38        0            1
Engineer Disk Product Manufacturing                     44        0            1



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Engineer Electrical                        38       0            1
Engineer Electrical                        39       0            1
Engineer Electrical Senior                 56       0            1
Engineer Electrical Senior                 46       0            1
Engineer Electrical Senior                 32       0            1
Engineer Field Sales, Senior               58       0            1
Engineer Manufacturing                     39       0            1
Engineer Manufacturing                     63       1            0
Engineer Manufacturing                     33       0            1
Engineer Manufacturing                     44       0            1
Engineer Mechanical                        30       0            1
Engineer Mechanical                        30       0            1
Engineer Mechanical Senior                 64       0            1
Engineer Optical Senior                    32       0            1
Engineer Quality                           57       0            1
Engineer Quality                           50       1            0
Engineer Quality                           32       1            0
Engineer Quality, Senior                   59       0            1
Engineer Quality, Senior                   56       0            1
Engineer Quality, Senior                   55       0            1
Engineer Reliability Senior                39       0            1
Engineer Test                              38       1            0
Engineer Test Senior                       38       0            1
Engineering Manufacturing Senior           55       0            1
Inspector Line                             45       0            1
Inspector Line                             52       0            1
Inspector Receiving                        73       1            0
Inspector Receiving                        60       0            1
Inspector Receiving                        50       0            1
Inspector Receiving                        54       0            1
Jr. Facilities Main!. Mechanic             26       0            1
Machine Operator                           32       0            1
Machinist Journey-Level                    49       0            1
Machinist Sr Direct                        38       0            1
Machinist Sr Direct                        55       0            1
Manager Documentation                      47       0            1
Manager EH&S / Trade Compliance            37       0            1
Manager Electrical Engineering             54       0            1
Manager Manufacturing                      45       0            1
Manager Materials                          55       0            1
Manager Mechanical Engineering             46       0            1



                                                                     J.L .D.
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Manager Optical Engineering               46       0            1
Manager Production Control                56       0            1
Manager Program                           66       0            1
Manager Quality Inspection & Test         64       0            1
Manager Specialty Engineering             55       0            1
Material Handler                          37       0            1
President/GM                              48       0            1
Receptionist                              70       0            1
Representative Human Resources            37       0            1
Representative Sales Support              55       0            1
Representative Sales Support              58       0            1
Scheduler                                 60       1            0
Senior Director Performance Excellence    35       0            1
Specialist Contracts                      55       0            1
Specialist Contracts Senior               59       0            1
Specialist Documentation                  60       0            1
Specialist Documentation                  58       0            1
Specialist Manufacturing                  46       0            1
Specialist Manufacturing                  47       0            1
Specialist Manufacturing                  38       0            1
Specialist Product                        59       0            1
Specialist Production Control             60       0            1
Specialist Production Control             53       0            1
Specialist Production Planning            56       0            1
Specialist Program Manager                33       0            1
Specialist Program Manager                71       1           0
Specialist Subcontracting                 62       0            1
Sr. Technician                            55       0            1
Sr. Technician                            59       0            1

Sr. Technician Engineering                58       0           1
Stock Clerk                               39       0            1

Stock Clerk                               53       0           1
Stock Clerk                               39       0           1
Supervisor Accounting                     53       0           1
Supervisor Final Test                     61       1           0
Supervisor Human Resources                56      0            1
Supervisor Manufacturing                  44      0            1
Supervisor Manufacturing                  46      0            1
Supervisor Manufacturing                  43      0            1
Supervisor QA Inspection                  62      0            1
Supervisor Stockroom                      43      0            1


                                                                    J.L.D.
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Technician                               48       0            1
Technician                               38       0            1
Technician                               52       0            1
Technician                               64       0            1
Technician                               26       0            1
Technician                               44       0            1
Technician                               48       0            1
Technician                               55       0            1
Technician                               37       0            1
Technician                               44       1            0
Technician                               35       0            1
Technician                               49       0            1
Technician                               39       0            1
Technician                               64       0            1
Technician                               32       0            1
Technician                               39       0            1
Technician                               38       0            1
Technician                               41       0            1
Technician Engineering                   31       0            1
Vice President - Program Management      46       0            1
Vice President Finance                   44       0            1
Vice President of Business Development   58       0            1




                                                                   J.L.D.
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                                                              https://mail.yahoo.com/d/folders/
     1h00 Mail - RE: Jeny Dodd Whistle blowing Complaint about ...
                                                                                                     of 31 APOhjgxo Vn W7X ...
                                                                                                I /messages/



               RE: Jerry Dodd Whistle blowing Complaint about Termination Document Requiring no Whistle Blowing

               From: David Rattner (DLR@jflpartners.com)

               To:   j erryleedodd@yahoo.com

               Date: Monday, February 4, 2019, 1:17 PM CST



               We are reviewing and will get back to you. I do understand you did receive a copy of the release agreement which you left behind.




                From: jerry dodd <jerryleedodd@yahoo.com:>
                Sent: Friday, February 1, 2019 4:15 PM
                To: David Rattner <DLR@jflpartners.com>
                Subject: Jerry Dodd Whistle blowing Complaint about Termination Document Requiring no Whistle Blowing




                Dear David L. Rattner, Chief Compliance Officer, J.F. Lehman & Company



                I returned your call, 212-634-1178, 12:11 PM , January 31, 2019, to my phone, 501-332-7173 after I had
                called earlier during your lunch .



                I called to report the prohibiting of whistle blower complaints under the BEi PSSC Release of Claims
                Agreement. Prohibiting of whistle blower complaints to DOD IG under US Statutes and implementing FAR
                and DFARS are prohibited (you may have another opinion).



                You commented that you have not reviewed the Release of Claims Agreement of BEi PSSC. During the
                phone call, I did not have a copy of the Release of Claims Agreement since it had been taken from my
                briefcase as company document (30 minutes or so after being given to me for review) along with non-
                company documents addressed to me personally.



                It is my understanding, that J.F. Lehman & Company through intermediate compan ies owns BEi PSSC, Inc.



                When will I receive a reply from my complaint?



               Also, is J.F. Lehman & Company a member of Defense Industry Initiative (on ethics and compliance)?



               Jerry Dodd

               501-332-7173



               m501--467-1265
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                                             Case 4:19-cv-00132-KGB Document 1 Filed 02/20/19 Page 31 of 31

    JS 44 (Rev. 02/ 19)                                          .                       CIVIL COVER SHEET                                             I-/: /q - CV - } 3 Z                                           - J<'G_g
    The JS 44 civil co ver sheet and the infonnation contained herei n _neithe r replace nor supplement the fil_ing and service of pleadin&s or othe r papers as required by law, except as
    provided by local rules of court. This fonn, approved by the Judicial Conference of the United States m September 1974, 1s req uired for the use of the Clerk of Court for the
    purpose of initiating the civil docket sheet. (SEE INSTIWC 710NS ON NEXT /'AGE OF THIS FORM.)


    \:Ji{f)       PLAINTIFFS UNITED STATES OF AMERICA, EX REL,                                                                DEFENDANTS (UNDER SEAL)
    (UNDER SEAL)

        (b)      County of R eside nce of First Li sted Plaintiff                  _U_S_A_________                           County ofResidence of First Listed Defendant
                                                                                                                                                                                               -PULASKI
                                                                                                                                                                                                 - -- - - -- - -- -
                                            (EXCEPTINU.S PIAIN7JFF CASES)                                                                                      (IN US. /'LA /NT/FF (:ASES ONLY)
                                                                                                                             NOTE:         IN LAN D CONDEMNATION CASES, USE T HE LOCATION OF
                                                                                                                                           THE TRACT OF LAND INVOLVED.

                                                                                                                              Attorneys (lfK11oll'n)
                                                                                                                                                         UNKNOWN



    II, BASIS OF JURISDICTION (Place an "X"inOneHoxOnly;                                                       III. CITIZENSHIP OF PRINCIPAL PARTIES (!'tac"""                                           "X" ;,, n 11e JJ,,_,fi,r l'ta1111iff
                                                                                                                          (For /Jil'e rsity Cases 0 111;1                                        and One Boxjnr Defendant)
    r!f. I U.S. Gov ernment                          0 3    Federal Question                                                                             PTF     DEF                                               PTF           DEF
                 Plaintiff                                    (U.S. Goi-emment Not a /'arty)                       Ci ti zen of This State               ~ I     ~ I        Incorporated or Principal Place          O 4         ~4
                                                                                                                                                                              of Business In This State

    0 2        U.S. Governmen t                      0 4    Diversity                                              Citi zen of Another State           0 2        0     2   Incorporated mu/ Principa1 Place            0 5       0 5
                  Defendant                                   (lndicale Citi:enship of Parties in Item III)                                                                    of Business In Another State

                                                                                                                   Citizen or Subject of a             0 3        0     3   Foreign Nati on                             0 6       06
                                                                                                                     Forci n Countrv
    IV NATURE OF SUIT (P ace an                               "X" in 0 ne HOX OnY,
                                                                                11                                                                                erIC k' he re ~or: N
                                                                                                                                                                                     ; 'ature o rs Utt c o de Deslsnntto ns.
I                 CONTRACT                                                   TORTS                                     FORFEITURE/PENALTY                             BANKRUPTCY                          OTHER STATUTES                    I
    0   I IO Insurance                               PERSONAL INJURY                   PERSONAL INJURY             0 625 Drug Related Seizure             0 422 Appeal 28 USC I 58                 0 375 False Claims Act
    0   120  Marine                              0   3 IO Airplane                  0 365 Personal Injury •                of Property 21    use 881      0 423 Withdrawal                         ~ 376 Qui Tam (31 USC
    0   130  Miller Act                          0   3 15 Airplane Product                  Product Li abi li ty   0 690 Other                                        28 USC 157                           3729(a))
    0   14 0 Negoti ab le Instrument                       Liability                0 36 7 Health Carel                                                                                            0 400 State Reapportionment
    0   150  Recovery of Overpayment             0   320 Assault, Libel &                  Phannaccutical                                                       PROPERTY RIGHTS                    0 410 Antitrust
             & Enforcement of Judg ment                    Slander                         Personal Injury                                                0 820 Copyrights                         0 430 Banks an d Banking
    0   15 1 Medicare Act                        0   330 Federal Em ployers'               Product Liability                                              0 830 Patent                             •   450 Commerce
    0   152 Recovery of Defaulted                          Liability                0 368 Asbestos Personal                                               0 835 Patent - Abbrev iated              0 460 Deportation
            Student Loans                        0   340 Marin e                            Injury Product                                                            New Drug Application         0 470 Racketeer Influenced and
            (Excludes Veterans)                  0   345 Marine Product                    Liability                                                      0 840 Tradernark                                 Com1pt Organizations
    0   153 Recovery of Overpayment                        Liability                 PERSONAL PROPERTY                            LABOR                        SOCIAL SECURITY                     0 480 Consumer Credit
            ofVeteran ·s Benefits                0   350 Motor Vehicle              0 370 Other Fraud              0   710 Fair Labor Standards           0    86 1 HI A ( 13951T)                 0 485 Telephone Consumer
    0   160 Stockholders' Suits                  0   355 Motor Vehicle              0 371 Truth in Lending                   Act                          0    862 Black Lung (923)                        Protection Act
    0   190 Other Contract                                Product Liability         0 380 Other Personal           0   720 Labor/Management               0    863 DIWC/ DIW\V (405(g))            0 490 Cable/Sat T V
    0   195 Contract Product Liability           0   360 Other Personal                    Property Damage                   Relations                    0    864 SSlD Title XV I                 0 850 Securities/Commod ities/
    0   196 Franchise                                     Injury                    0 3 85 Property Damage         0   740 Railway Labor Act              0    865 RSI (405(g))                            Exchar,ge
                                                 0   362 Personal Injury ·                 Product Liability       0   75 1 Family and Medical                                                     0 890 Other Statutory Actions
                                                          Medical Maloractice                                                Leave Act                                                             0 89 1 Agricultural Acts
I      REAL PROPERTY                                   CIVIL RIGHTS                  PRISONER PETITIONS            0   790 Other Labor Litigat ion             FEDERAL TAX SUITS                   0 893 Environmental Matters
0 21 0 Land Condemna ti on                       0   440 Other Civil Rights           Ha bcas Corpus:              0   791 Employee Rctiremcnl            0 870 Taxes (U.S . Plaintiff             0 895 Freedom of lnfonnation
0 220 Foreclosure                                0   441 Voting                     0 463 Al ien Detainee                   Income Sei.::urity Act                    or Defendant)                      Act
0 230 Rent Lease & Ejectment                     0   442 Employmen t                0 510 Motion s to Vacate                                              0 87 1 IRS-Third Party                   0 896 Arbitration
0 240 Torts to Land                              0   443 Housing/                         Sentence                                                                    26 USC 7609                  0 899 Admin istrati \' e Proct.!durc
0 245 Tort Product Liability                             Accommodations             0 530 General                                                                                                        Act/Review or Appeal of
0 290 All Other Real Pro perty                   0   445 Amer. w/ Disabilitics -    0 535 Death Penalty                    IMMIGRATION                                                                   Agency Decision
                                                         Employment                   Other:                       0 462 Nat urali zation Application                                              0 950 Constitutionali ty of
                                                 0   446 Amer. w/Disabilities -     0 540 Mandamus & Other         0 465 Other Immigration                                                               State Statutes
                                                         Other                      0 550 Civil Rights                     Acti ons
                                                 0   448 Education                  0 555 Prison Condition
                                                                                    0 560 Civil Detainee•
                                                                                          Conditions o f
                                                                                          Confinement

V. 0 RIG IN                  (!'lace an ",\.. , i11 One Box 011/y)
la I       Original                O 2 Removed from                       0 3      Remanded from              0 4 Re instated or       O     5 Transferred from             0 6 Multidistrict                0 8 Multidi stTic l
           Proceeding                  State Court                                 Appellate Court                 Reopened                    Another Di strict                    Litigation -                    Litigation -
                                                                                                                                               (.<pecib'}                           Transfer                        Direct file
                                                      Cite the U .S . Civil Statute under which you are filing (Do ,wt citejuri.wlictional str1tutes 1111/es.1· ,/iversity) :
                                                       QUI TAM 31 usc 3729 (a)
VI. CAUSE OF ACTION                                   1-B-r.,...ie-=-r-=-de-s-cn-ip-t-
                                                                                    io_n_o_f_ca-u-
                                                                                                 se_:_ ' - - - ' - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -
                                                       QUI TAM and False Claims Act
VII. REQUESTED IN                                     0      CHECK IF THIS IS A CLASS              ACTION              DEMANDS                                          CHECK YES only if demanded in complaint:
     COMPLAINT:                                              UNDER RULE 23, F.R .Cv.P.                                                                                  JURY DEMAND:                    ~ Yes          • No
VIII. RELATED CASE(S)
                                                           {Sf!e im·trucflm1.,):
      IF ANY                                                                       JUDGE                                                                       DOCKET NUMBER




        RECEIPT#                            AMOUNT                                        AP PL YING IFP                                    JUDGE                                   MAG. JUDGE
                                                                                                                                                                                                       - -- - --            --· - .    --
